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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

       ROBERT B. KUGLER                                   MITCHELL H. COHEN U.S. COURTHOUSE
  UNITED STATES DISTRICT JUDGE                             1 John F. Gerry Plaza – Room 6040
                                                                    Camden, NJ 08101
                                                                      856-757-5019




  October 1, 2019



  TO: ALL COUNSEL

  Re: In re:   Benicar (Olmesartan) Products Liability Litigation
               Master Docket No. 15-2606(RBK-JS)

  Dear Counsel:

  On September 23, 2019, this court entered an Order to establish the Qualified Settlement
  Fund in the Benicar (Olmesartan) Products Liability Litigation, Docket 15-2606(RBK).
  Separately, on that same date, the court sent a letter to all counsel in the plaintiffs’
  leadership group, requiring the submission of a letter with the court regarding any direct or
  indirect financial interest that any member of plaintiffs’ leadership group or their immediate
  families may have in either Archer Systems, LLC, or Huntington Bancshares Incorporated.

  Such a letter was filed with the court and the requirement that the court set in its letter of
  September 23, 2019, has now been met and satisfied.


                                                    Very truly yours,


                                                    s/Robert B. Kugler
                                                    ROBERT B. KUGLER
  RBK:mg                                            United States District Judge
